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 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       ORDER CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     WENDALL STEWART, et al,                         )       Date: November 4, 2011
13
                                                     )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                              )
                                                     )
15
                                                     )
                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Vigilio Pineda, David D.
20
     Fischer, Esq., counsel for defendant Wendell Stewart, Candace A. Fry, Esq., and counsel for
21
     defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
22
     for September 30, 2011 be continued to November 4, 2011, at 9:00 a.m., thus vacating the
23
     presently set status conference.
24
            Further, all of the parties, the United States of America and all of the defendants as stated
25
     above, hereby agree and stipulate that the ends of justice served by the granting of such a
26
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that
27
     time under the Speedy Trial Act should therefore be under meaning of Title 18, United States
28
     Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation,


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 1   specifically the continuance is requested to allow more time for defense preparation and possible
 2   negotiations for resolution) and Local Code T4, and agree to exclude time from the date of the
 3   filing of the order until the date of the status conference, November 4, 2011.
 4   IT IS SO STIPULATED.
 5
     Dated: September 21, 2011                                     /s/ John R. Manning
 6                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
 7                                                                Ricardo Venegas
 8
     Dated: September 21, 2011                                    /s/ David D. Fischer
 9                                                                DAVID D. FISCHER
                                                                  Attorney for Defendant
10                                                                Vigilio Pineda
11
     Dated: September 21, 2011                                    /s/ Candace A. Fry
12                                                                CANDACE A. FRY
                                                                  Attorney for Defendant
13                                                                Wendell Stewart
14
     Dated: September 21, 2011                                     /s/ Edward C. Bell
15                                                                EDWARD C. BELL
                                                                  Attorney for Defendant
16
                                                                  Isauro Jauregui Catalan
17

18   Dated: September 21, 2011                                    Benjamin B. Wagner
                                                                  United States Attorney
19

20                                                        by:     /s/ Jill M. Thomas
                                                                  JILL M. THOMAS
21                                                                Assistant U.S. Attorney
22

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                            IN THE UNITED STATES DISTRICT COURT
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 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) ORDER TO CONTINUE
                                                    ) STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     WENDALL STEWART, et al.,                       )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
16
                                                    )
17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the September 30, 2011 status
19

20
     conference be continued to November 4, 2011 at 9:00 a.m. I find that the ends of justice warrant
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
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22
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT

23
     IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv)

24
     and Local Code T4 from the date of this order to November 4, 2011.

25
     IT IS SO ORDERED.

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28                                             GARLAND E. BURRELL, JR.
                                               United States District Judge


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